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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No.        SA CV 19-00847-SK                                           Date: June 29, 2022
Title         Dennis Fugnetti v. Bird B Gone Inc et al


Present: The Honorable: Steve Kim, United States Magistrate Judge


                  Connie Chung                                     CS 06/29/22
                  Deputy Clerk                               Court Reporter / Recorder

        Attorneys Present for Plaintiff(s):            Attorneys Present for Defendant(s):
                 Ryan Carreon                                 John Van Loben Sels
                                                                  Soyeun Choi
                                                                 Brittany Nobles


Proceedings:           INITIAL PRETRIAL CONFERENCE

       Case called. Counsel state their appearances for the record. Court and counsel
confer as stated on the record. The Court sets the following dates:

 Matter                                            Date
 Meeting of counsel pursuant to L.R. 16-2          July 20, 2022
 (must be in person or video, not
 telephone or email)
 Filing of Motions in Limine (in joint             August 17, 2022
 stipulation form). No more than 3 per
 side, absent leave of Court.

 Memorandum of Contentions of Fact and
 Law pursuant to L.R. 16-4

 Witness List pursuant to L.R. 16-5

 Joint Exhibit List pursuant to L.R. 16-6

 Joint Status Report re settlement
 Final Pretrial Conference and hearing on          August 29, 2022 at 11:00 AM
 MILs

                                                                                          00:50
                                                                 Initials of Preparer      CC


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